        2:18-cv-02101-CSB-EIL # 21          Page 1 of 22                                             E-FILED
                                                                       Tuesday, 24 July, 2018 09:47:14 AM
                                                                            Clerk, U.S. District Court, ILCD

                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

ANDREW MINIK, JOEL VALDEZ and                       )
BLAIR NELSON,                                       )
                                                    )
                      Plaintiffs,                   )
                                                    )
       v.                                           )       Case No. 18-2101
                                                    )
                                                    )       JURY TRIAL DEMANDED
BOARD OF TRUSTEES OF                                )
THE UNIVERSITY OF ILLINOIS, and                     )
TARIQ KHAN,                                         )
                                                    )
                      Defendants.                   )
                                                    )
                                                    )
TARIQ KHAN,                                         )
                                                    )
                      Counterclaimant,              )       JURY TRIAL DEMANDED
                                                    )
v.                                                  )
                                                    )
ANDREW MINIK, JOEL VALDEZ and                       )
BLAIR NELSON,                                       )
                                                    )
                      Counter-Defendants,           )

        DEFENDANT/COUNTERCLAIMANT TARIQ KHAN’S RESPONSE TO
        PLAINTIFFS/COUNTER-DEFENDANTS’ MOTION TO STRIKE AND
           DISMISS WITH INCORPORATED MEMORANDUM OF LAW

       NOW COMES the Defendant/Counterclaimant, TARIQ KHAN, through his attorney,

Ellyn J. Bullock of Solberg & Bullock, LLC, and under Federal Rules of Civil Procedure 12(b)(6)

and (f) and under all other applicable Rules, responds to Plaintiffs/Counter-Defendants’ Motion to

Strike and Dismiss (Docket 17 & 18) as follows:
        2:18-cv-02101-CSB-EIL # 21           Page 2 of 22



             Counter-Defendants Baseless Wish for Khan’s Counterclaims to Disappear

       Docket 17 is titled “Motion to Strike and Dismiss Counterclaim of Tariq Khan Under

FRCP 12(b)(6) and 12(f).” But nowhere does it state grounds for dismissal or to strike any portion

of Khan’s counterclaims, much less in their entirety. The entire Motion and Memorandum of Law

reads like an angry wish list rather than a legal motion. Counter-Defendants clearly want Khan’s

counterclaims to disappear, but just as clearly, they don’t have the slightest idea how to make them

disappear.

                               Rule 12(f) Motions Are Disfavored

       Counter-Defendants’ Motion to Strike is ineffectual and confusing as it attempts to strike

Counterclaims Counts I and II in their entirety, claiming “The entire Counterclaim contains so

much that is immaterial, impertinent and scandalous, and the few remaining proper factual

allegations are so inextricably connected with the improper allegations, that the entire

Counterclaim should be stricken under FRCP 12(f).” (Docket 17 at 2) (emphasis added) To be

perfectly clear, this is not how Federal Rule of Civil Procedure 12 works. A litigant cannot simply

call the entire complaint against him scandalous and then strike or eradicate it. This Court “must

take note of the overarching principle” that a Rule 12(f) Motion to Strike is a “drastic remedy

which is disfavored and seldom granted.” Riemer v. Chase Bank USA, 275 F.R.D. 492, 494 (U.S.

Dist. Ct. N.D. Ill. 2011).

       Rule 12(f) motions are generally viewed with disfavor “because striking a portion of a

pleading is a drastic remedy and because it is often sought by the movant simply as a dilatory

tactic.” Riemer, 275 F.R.D. at 494 (citing 5A A. Charles Alan Wright & Arthur R. Miller, Federal

Practice & Procedure 1380, 647 (2d ed. 1990)). “As motions to strike are looked upon with

disfavor, a court ordinarily will not strike a matter unless the court can confidently conclude that



                                                 2
        2:18-cv-02101-CSB-EIL # 21            Page 3 of 22



the portion of the pleading to which the motion is addressed is redundant or is both irrelevant to

the subject matter of the litigation and prejudicial to the objecting party.” Ehlerding v. American

Mattress and Upholstery, Inc., 208 F.Supp.3d 944, 952 (U.S. Dist. Ct. N.D. Ind. 2016).

                            A Motion to Strike Is Not a Mechanism for
                             Deciding Disputed Issues of Law or Fact

       “A motion to strike under Rule 12(f) is not a mechanism for deciding disputed issues of

law or fact, especially where, as here, there has been no discovery, and the factual issues on which

the motion to strike largely depends are disputed.” Riemer, 275 F.R.D. at 494 (citing William Z.

Salcer, Panfeld, Edelman v. Envicon Equities Corp., 744 F.2d 935, 959 (2d Cir. 1984)). Here, the

facts of the Counterclaims, Count I for intentional infliction of emotional distress, and Count II for

an Illinois hate crime, are hotly disputed. It is dilatory and evasive to request that the Court strike

all of the Counterclaims’ facts and then dismiss the Counterclaims, which is what the Counter-

Defendants would have this Court do.

       The disputed facts of Counter-Defendants’ Complaint are found in Paragraphs 1-68, which

are incorporated by reference into Counterclaims I and II. Federal Rule of Civil Procedure 12(f)

provides that a district court may strike from a pleading any “insufficient defense or any redundant,

immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). “A court has significant

discretion in ruling on a motion to strike,” “However, Rule 12(f) is neither an authorized nor a

proper way to procure the dismissal of part of the complaint.” Ehlerding v. American Mattress

and Upholstery, Inc., 208 F.Supp.3d 944, 951-952 (U.S. Dist. Ct. N.D. In. 2016). Counter-

Defendants may deny the factual allegations of the Counterclaims, but that does not make the

allegations immaterial, impertinent or scandalous. If parties disagree on the facts; that merely

means the parties are at issue and the case should go through discovery and to jury trial for factual

resolution.


                                                  3
        2:18-cv-02101-CSB-EIL # 21              Page 4 of 22



                  Counter-Defendants’ Memorandum Contains Insufficient Law

        Docket 18 is the Memorandum of Law that Counter-Defendants offer in support of their

Motion to Strike and Dismiss. Oddly, it contains very little citation to case law or statute. Its only

citation to case law is to four Illinois cases on the Illinois tort of intentional infliction of emotional

distress. (Docket 18 at 5) Counterclaimant Khan has no issue with those four cases relating to the

elements of the Illinois tort of intentional infliction of emotional distress and Khan agrees that the

elements of that tort are as stated by Counter-Defendants. However, these four cases do not

constitute sufficient legal basis for the dismissal of even the IIED claim (Counterclaim I) much

less do these cases have anything whatsoever to say about the hate crime claim (Counterclaim II).

See, Doe v. Calment City, 641 N.E. 2d 498 (Ill. S.Ct. 1994); Chang Hyun Moon v. Kang Jun Liv,

44 N.E. 3d 1134 (Ill. App. 1st 2015); Turcios v. Debruler Co., 32 N.E. 3d 1117 (Ill. S.Ct. 2015);

McGrath v. Fahey, 553 N.E. 2d 806 (Ill. S.Ct. 1989).

        As this Court knows well, there is extensive case law from the United States Supreme

Court, the Seventh Circuit Court of Appeals, and the United States District Courts on the

substantive meaning and the procedural application of Federal Rule of Civil Procedure 12 in

dismissal of claims. All of the U.S. Supreme Court and Seventh Circuit law is binding on this

Court and these litigants, and the U.S. District Court law is either binding or at very least persuasive

to this Court and these litigants. Therefore, absence of citation to the vast and overall coherent

law on dismissal under Federal Rule of Civil Procedure 12 is very problematic to these Counter-

Defendants. Counter-Defendants utterly fail to recite any federal procedural law to support

dismissal!

        Nowhere is the failure to cite federal law as starkly telling as in a series of assertions made

about “constitutionally protected free speech and press activities.” (Docket 18 at 4) The First



                                                    4
        2:18-cv-02101-CSB-EIL # 21            Page 5 of 22



Amendment, applicable to the States through the Fourteenth Amendment, provides that “Congress

shall make no law . . . abridging the freedom of speech.” The hallmark of the protection of free

speech is to allow “free trade in ideas”—even ideas that the overwhelming majority of people

might find distasteful or discomforting. Abrams v. United States, 250 U.S. 616, 630 (S.Ct. 1919)

(Holmes, J., dissenting); see also Texas v. Johnson, 491 (S.Ct. 1989) (“If there is a bedrock

principle underlying the First Amendment, it is that the government may not prohibit the

expression of an idea simply because society finds the idea itself offensive or disagreeable.”). Thus

the First Amendment “ordinarily” denies a State “the power to prohibit dissemination of social,

economic and political doctrine which a vast majority of its citizens believes to be false and fraught

with evil consequence.”      Whitney v. California, 274 U.S. 357, 374 (1927) (Brandeis, J.,

concurring).

       The protections afforded by the First Amendment, however, are not absolute, and

American Courts have long recognized that the government may regulate certain categories of

expression consistent with the Constitution. See, e.g., Chaplinsky v. New Hampshire, 315 U.S.

568, 571-572 (1942) (“There are certain well-defined and narrowly limited classes of speech, the

prevention and punishment of which has never been thought to raise any Constitutional problem.”).

The First Amendment permits “restrictions upon the content of speech in a few limited areas,

which are ‘of such slight social value as a step to truth that any benefit that may be derived from

them is clearly outweighed by the social interest in order and morality.’” R.A.V. v. City of St. Paul,

505 U.S. 377, 382-383 (1912) (quoting Chaplinsky v. New Hampshire, 315 U.S. at 504).

                     The Counterclaims’ Proud Boys Allegations Are Neither
                   Scandalous nor Impertinent Although They May Be Disputed

       Without any definition of “impertinent” or “scandalous,” Counter-Defendants argue that

the Counterclaims’ allegation that Valdez and Nelson are associated with the hate group Proud


                                                  5
        2:18-cv-02101-CSB-EIL # 21           Page 6 of 22



Boys is impertinent and scandalous, and further, that the allegation that Proud Boys is a hate group

is also impertinent and scandalous. Under Rule 12(f), “Allegations may be stricken as scandalous

if the matter bears no possible relation to the controversy or may cause the objecting party

prejudice.” Talbot v. Robert Matthews Distributing Co., 961 F.2d 654, 664 (7th Cir. 1992).

       Valdez’s and Nelson’s association with Proud Boys is alleged in Counterclaim Paragraph

12: “On November 15, 2017, Nelson and Valdez appeared as guests on “Get Off My Lawn” which

is Proud Boys’ Founder’s, Gavin McInnes’, internet show. Nelson and Valdez published hateful

and defamatory and threatening information about Khan on McInnes’ show.” (Docket 13 at 46)

This is a factual allegation, susceptible of proof in Court. There is nothing either impertinent or

scandalous about this allegation. If Nelson and Valdez appeared on McInnes’ internet show, it is

neither impertinent nor scandalous to say so. If Gavin McInnes is the founder of Proud Boys, it is

neither scandalous nor impertinent to say so. Whatever Nelson and Valdez published on the show

can be shown to a jury for decision as to whether it was hateful and/or threatening and/or

defamatory. At this point in this litigation, of course, the matters asserted in Paragraph 12 are

allegations, meaning they have not yet been proved, but they are in no way scandalous or

impertinent allegations.

       The “Proud Boys” allegations against Valdez and Nelson contained in Paragraph 12 of

Khan’s Counterclaim are not impertinent or scandalous. Rather they are allegations capable of

proof (or disproof, if the evidence at trial doesn’t bear them out) and relevant to the Complaint

against Khan, and also relevant to the Counterclaims brought by Khan against Plaintiffs/Counter-

Defendants. Valdez and Nelson have sued Khan in federal court for assault and damage to

property arising out of Khan’s presence and actions at a Rally on the University of Illinois campus

on November 16, 2017. (Docket 1 at 5-6 & 20). They have sued the University of Illinois for




                                                 6
        2:18-cv-02101-CSB-EIL # 21            Page 7 of 22



discipline meted out after the Rally. (Docket 1 at 6-20) Their actions at the Rally and after the

Rally are thus relevant to their own Complaint as well as to the Counterclaims. If Valdez and

Nelson published material about Khan on Gavin McInnes’ show, that is relevant to all of the issues

raised between the parties. If Gavin McInnes is the founder of Proud Boys, that is relevant to the

motivations and purposes of his show and to all of the matters at issue between the parties. “Matter

will not be stricken from a pleading unless it is clear that it can have no possible bearing upon the

subject matter of the litigation.” Capitol Indemnity Corporation v. Tranel Developments, Inc., 144

F.R.D. 346 (U.S. Dist. Ct. N.D. Ill. 1992) (citing 2A Moore’s Federal Practice 12.21[2], at 12-

175).

        The Motion to Strike or Dismiss also argues that “the allegation that Proud Boys is a hate

group is supported by nothing more than the allegation in ¶ 7 that it was so designated by the

Southern Poverty Law Center, a private advocacy organization which has set itself up as the, likely

imperfect, arbiter of who and what are hate groups.” (Docket 18 at 2) This again is a factual

dispute. If the Plaintiffs/Counter-Defendants wish to fight the designation of Proud Boys as a hate

group and wish to prove that Southern Poverty Law Center is an imperfect arbiter of who and what

are hate groups, that fight is well within Plaintiffs/Counter-Defendants’ legal right and

responsibility at this juncture. But that does not support striking any or all of Khan’s counterclaims

under Rule 12(f). The allegation as to the SPLC designation of Proud Boys as a hate group is

precisely what gives a factual basis to Khan’s counterclaims, and thus, it should not be stricken

and it supports that the rest of the Counterclaim should not be stricken. “A district court may strike

an allegation as scandalous when it bears no possible relation to the controversy or when the

allegations are devoid of any factual basis.” Blankenship v. Pushpin Holdings, 157 F. Supp. 3d

788, 795 (U.S. Dist. Ct. N.D. Ill. 2016).




                                                  7
        2:18-cv-02101-CSB-EIL # 21            Page 8 of 22



                 The Counterclaims Do Allege Intentional Infliction of Emotional
                    Distress and a Hate Crime and Should Not Be Dismissed
                         Under Federal Rule of Civil Procedure 12(b)(6)

       Federal Rule of Civil Procedure 12(b)(6) provides that Defendants in civil actions may

move to dismiss for “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P.

12(b)(6). The familiar federal court standards for a Court deciding a 12(b)(6) motion is that

dismissal for failure to state a claim is proper only if “the plaintiff could prove no set of facts in

support of her claims that would entitle her to relief.” Conley v. Gibson, 78 S.Ct. 99 (1957). “If

it is possible to hypothesize a set of facts, consistent with the complaint, that would entitle the

plaintiff to relief, dismissal under Rule 12(b)(6) is inappropriate.” Veazey v. Communications &

Cable of Chicago, 194 F.3d 850, 854 (7th Cir. 1995).

                       International Infliction of Emotional Distress Is Well
                          Developed Under the Common Law of Illinois

       Counterclaimant Khan agrees with the Counter-Defendants’ statement of the elements of

the Illinois tort of intentional infliction of emotional distress (IIED). Counterclaimant must allege

“the defendant’s conduct was extreme and outrageous; (2) the defendant either intended to inflict

severe emotional distress or knew that there was a high probability that its conduct would do so;

and (3) the defendant’s conduct actually caused severe emotional distress.” Chang Hyun Moon v.

Kang Jun Liu, 44 N.E. 3d 1134, 1142 (Ill. App. 1st 2015) (citing McGrath v. Fahey, 533 N.E. 2d

806 (1988)).

       As the Illinois Supreme Court has explained, liability for IIED “only arises in

circumstances where defendant’s conduct is so outrageous in character, and so extreme in degree,

as to go beyond all possible bounds of decency.” Chang Hyun Moon, 44 N.E. 3d at 1143 (quoting

Public Finance Corp. v. Davis, 360 N.E. 2d 765 (1976) (quoting Restatement (Second) of Torts §




                                                  8
       2:18-cv-02101-CSB-EIL # 21           Page 9 of 22



46 cmt.d (1965)). Khan’s allegations meet this high standard for extreme and outrageous. Upon

a Motion to Dismiss, all of Khan’s allegations are viewed in the light most favorable to him and

thus all of the following support extreme and outrageous misconduct “beyond all possible bounds

of decency.”

               32.    Following November 16, 2017, Khan received multiple
                      threats on line which threats were participated in by Nelson
                      and/or Minik and/or Valdez.

               33.    Following November 16, 2017, Minik published a threat to
                      @Tariq Khan that included the words “Get him out of here
                      … Beat the shit out of him . . . I’ll pay the legal fees.”

               34.    Following November 16, 2017, Minik published defamatory
                      and hateful and threatening allegations against Khan.

               35.    Following November 16, 2017, Minik’s and Nelson’s and
                      Valdez’s electronic communications about Khan caused
                      unknown racist and hateful persons to threaten and harass
                      Khan.

               36.    Following November 16, 2017, Valdez and Minik and
                      Nelson all shared hateful and racist and defamatory
                      electronic communications about Khan on the internet and
                      caused threats of injury to Khan and his family.

               37.    On or about November 17, 2017, Khan received a threat
                      from an unknown person named Keith Joseph Greff stating:
                      “u wanna make the battle between ideologies a physical
                      thing and attach people for their thoughts and views thats
                      fine but make sure you deal with the consequences you
                      scumbag. im 3 hours from you maybe ill come to campus
                      this weekend and we can duke it out with fists and learn the
                      hard way that u cant just muscle people into thinking a
                      certain way. Stay frosty mother fucker.”

               38.    On or about November 17, 2017, Khan received a death
                      threat from an unknown person named Chuck Neely stating:
                      “Expelled? No. We need to deal with this as white men in a
                      white nation. This garbage dares to assault us? We
                      physically remove him from the plane of existence. He has
                      zero right to exist in our nation, he is made to leave one way
                      or another.”




                                                9
2:18-cv-02101-CSB-EIL # 21        Page 10 of 22



     39.   On November 18, 2017, Khan received a threatening email
           from an unknown person at email address
           rich128128@gmail.com with subject “Shameful” and text
           “You know what im talking about”

     40.   On November 18, 2017, Khan received a threatening email
           from an unknown person at email address leary_4@usa.com
           with subject “Ewwwww tuff guy” and text “U have got to be
           the biggest pussy I have ever seen. I hope u don’t have kids
           cause u will be beaten severely one day and no kid should
           see his dad like that not even u. Alla u snack bar ya fuckin
           idiot”

     41.   On November 18, 2017, Khan received a threatening email
           from an unknown person at email address
           mjgluck@comcast.net with subject “Handsomely Done”
           and text “Saw you made the news today. Your parents must
           be proud.”

     42.   On November 19, 2017, Khan received a threatening email
           from           an          unknown            person         at
           someweheronaddison@gmail.com with subject “Little
           Tariq” and text “Aww … poor baby got arrested because he
           broke the law. Fun to watch a guy who bitches about
           capitalism wander around taking pictures with an Apple
           phone. Fun to watch a guy who bitches about capitalism go
           to school for free at a university founded to promote agrarian
           capitalism (Because agriculture on all those other
           communist nations have worked out so well.” How’s
           Venezuela working out pal? Enjoy your expulsion. You’re
           a coward and a hypocrite.”

     43.   On November 20, 2017, Khan received a threatening email
           from an unknown person at arglebargle23@gmail.com with
           subject “Tariq Khan threatens kids.” And text “Why are you
           threatening my kids? Are your employers aware of your
           behavior? I think they will be soon enough. Good luck with
           your hate!”

     44.   On November 20, 2017, Khan received a threatening email
           from an unknown person at email address
           goodgoy666@outlook.com with Subject “Important!” and
           text “Hi There! Just wanted to let you know I just watched
           the hilarious video of you making a fool of yourself by
           whining about President Trump and then assaulting students
           like a little bitch (it’s all over the internet and social media).
           Watching you scream non-stop like a little girl was truly a


                                      10
2:18-cv-02101-CSB-EIL # 21      Page 11 of 22



           sight to see. Your wife must be super embarrassed of you
           and has probably already started an affair with a real man
           behind your back. And you just embarrassed your kids and
           made them ashamed of you for the rest of their lives ;) Your
           “legacy” is now a video of you screaming and throwing a
           tantrum while assaulting a student, stealing his phone, and
           then destroying it. You are the laughing stock of the
           university and now everyone knows what a completely
           mentally unstable pussy you are. Enjoy finishing your Phd
           in shame and teaching class while everyone laughs in your
           face and behind your back ☺ Krama’s a bitch isn’t it? Love,
           Muhammad”

     45.   On November 20, 2017, Khan received a threatening email
           from an unknown person at email address
           samuelyates87@gmail.com with Subject “ Hahah” and text
           “Yo just a quick one to say you’re a massive fucking pussy
           and you should kill yourself you sad cunt.

     46.   On November 20, 2017, Khan received a threatening email
           from an unknown person at email address
           1mattehew765@gmail.com with Subject “Video” and text
           “Saw the video. Understand why you are against free
           speech. So easily triggered. What an embarrassment to
           academia you are. Matt Kremer”

     47.   On November 20, 2017, Khan received an email from an
           unknown         person         at      email        address
           Desoto.joseph@gmail.com with Subject “Little man” and
           text “You are so screwed little man. You bees a tuff guy on
           da video. Grow up. Seek guidance from your Imam and
           good luck with your career at McDonalds.”

     48.   On November 20, 2017, Khan received a threatening email
           from an unknown person at email address
           glynch9999@gmail.com with Subject “Watch yourself,
           boy” and text “You make a lot of threats . . .”

     49.   On November 21, 2017, Khan received a threatening email
           from an unknown person at email address
           leeatrell@yahoo.com with Subject “Finals” and text “I was
           wondering when finals will be? You know when you finally
           lose you job because you are a whacked out slw cuck . . .
           have a good one, idiot”

     50.   On November 21, 2017, Khan received a threatening email
           from an unknown person at email address


                                   11
       2:18-cv-02101-CSB-EIL # 21            Page 12 of 22



                       mzmadmike@gmail.com with Subject “Pity . . .” and text
                       “That they didn’t beat the living shit out of you. And after
                       all that bleating and trantrumming . . . Trump is still
                       president. And the only concentration camps in US history
                       were run by liberals.”

               51.     On November 21, 2017, Valdez’s friend made an on-line
                       threat to “beat his [Khan’s] ass for you bro.” and Valdez
                       replied threateningly to Khan with a heart icon and the words
                       “Do it ASAP” This threat was publicly posted where many
                       other persons affiliated with white supremacists and hate
                       groups such as the Proud Boys could see it and further
                       foment hate against Khan.

               52.     On November 21, 2017, Josue Santana shared Charlie Kirk’s
                       Turning Point USA video of Khan at the November 16, 2017
                       Rally and Josue Santana told Valdez “I’ll beat his ass for you
                       bro.” with an angry with fists up emoji.

               53.     On November 23, 2017, Khan received a threatening email
                       from an unknown person at email address
                       davidtimms61@gmail.com with Subject “Attack” and text
                       “Hey Tariq, take a swing at my kid, you little pussy.”

(Docket 13 at 48-52)

                               Count II of the Counterclaim Identifies
                               and Sufficiently Alleges a Hate Crime

       In one short paragraph, the Motion to Strike urges the Court to dismiss Counterclaim II in

its entirety: “The second, claim, though not identified as such, appears to be a civil action pursuant

to 720 Ill. Comp. Stat. Ann. 5/12-7(c), the Illinois hate crime law. However, to bring a civil action

there must be an allegation of one of the predicate crimes listed in the statute. None was alleged

in the counterclaim. Thus Count II also fails to state a claim upon which relief can be granted.”

(Docket 18 at 6) Most respectfully, this verges on nonsense and gives no legal basis for any

dismissal of Count II. The heading of Count II does identify itself as an Illinois hate crime in that

it is titled “COUNTERCLAIM II (Hate Crime for Harassment and Assault and Intimidation)




                                                 12
        2:18-cv-02101-CSB-EIL # 21            Page 13 of 22



(Khan Against Minik, Valdez and Nelson). (Docket 13 at 55-56) (emphasis added) It is

preposterous to argue that this is not identified as a hate crime when it clearly is.

       Count II pleads an Illinois Hate Crime and should not be dismissed for any reason, as

follows:

                               COUNTERCLAIM II (Hate Crime for
                             Harassment and Assault and Intimidation)
                             (Khan Against Minik, Valdez and Nelson)

               73.     Counterclaimant incorporates all of the allegations in
                       Paragraphs 1-68 above.

               74.     Minik, Valdez and Nelson caused Khan’s photo and name
                       and racial and religious background to be published on the
                       internet to persons known to Minik, Valdez and Nelson to be
                       racist and to be members or supporters of hate groups.

               75.     Minik and Valdez and Nelson were at all relevant times
                       acting in whole or in part by reason of Khan’s actual or
                       perceived race and/or actual or perceived religion and/or
                       actual or perceived ancestry and/or actual or perceived
                       national origin.

               76.     Valdez and Nelson and Minik threated Khan with imminent
                       danger and Khan believed himself to be in imminent danger.

               77.     Valdez and Nelson and Minik harassed Khan through
                       electronic communication of threatening injury to Khan and
                       his family.

               78.     Valdez and Nelson and Minik violated the University’s No-
                       Contact Directives for the purpose of threatening Khan.

               79.     Valdez and Nelson and Minik harassed and intimidated
                       Khan by repeatedly filming him for the purpose of using the
                       films to cause Khan and his family to be exposed to hatred
                       and contempt and ridicule.

               80.     Valdez and Nelson and Minik intended to cause harm to
                       Khan.

               81.     Valdez and Nelson and Minik caused Khan and his family
                       to suffer distress and to be exposed to contempt and hatred
                       and ridicule.



                                                  13
         2:18-cv-02101-CSB-EIL # 21           Page 14 of 22



                82.    As a result of Valdez’s and Nelson’s and Minik’s harassment
                       and assault and intimidation Khan has suffered and will
                       continue to suffer fear, anxiety, emotional distress, academic
                       injury and loss of enjoyment of academic life.

(Docket 13 at 55-56)

         The Motion to Strike or Dismiss argues that “to bring a civil action there must be an

allegation of one of the predicate crimes listed in the statute.          None was alleged in the

counterclaim.” (Docket 18 at 6) The predicate crimes alleged are listed in the title of the Count

as “Hate Crime for Harassment and Assault and Intimidation.” (Docket 13 at 55) (emphasis

added)

         For one example of a predicate crime, consider harassment.            “Harassment through

electronic communications” can form the predicate for a hate crime, when the harassment through

electronic communication is committed “by reason of the actual or perceived race, color, creed,

religion, ancestry, gender, sexual orientation, physical or mental disability, or national origin of

another individual or group of individuals, regardless of the existence of any other motivating

factor or factors.”    720 ILCS 5/12-7.1(a). Harassment through electronic communication is

defined by Illinois statute as “A person commits harassment through electronic communication

when he or she uses electronic communication for any of the following purposes: (1) Making any

comment, request, suggestion or proposal which is obscene with an attempt to offend . . . (5)

Threatening injury to the person or property of the person to whom an electronic communication

is directed or to any of his or her family or household members.” 720 ILCS 5/26.5-3.

         In light of this statutory definition of harassment through electronic communication,

consider Paragraph 33 of the Counterclaim as one example of many of factual allegations that

support a hate crime: “Following November 16, 2017, Minik published a threat to @Tariq Khan

that included the words “Get him out of here … Beat the shit out of him . . . I’ll pay the legal fees.”



                                                  14
       2:18-cv-02101-CSB-EIL # 21            Page 15 of 22



(Docket 13 at 48) This constitutes harassment through electronic communication by Minik against

Khan. If it is found to be partially motivated by Khan’s actual or perceived race, color, creed,

religion, ancestry or national origin, then it may be found by a jury to constitute a hate crime. This

allegation of on-line harassment of Khan by Minik can constitute an Illinois hate crime.

       In the Counter-Defendants’ own Complaint, they admit/allege another clear allegation of

 a predicate offense sufficient to support a hate crime. Paragraph 54 of their own Complaint

 alleges: “On February 26, 2018, Valdez received an email from Die in which he, on behalf of

 the University and with no hearing or opportunity to be heard, confront witnesses or present

 evidence or arguments, determined that Valdez had violated the student code of conduct. Die’s

 finding was that three months earlier, on November 21, 2017, Valdez “liked” a post from a

 friend of Valdez residing in Chicago who commented that he could “beat his ass for you

 bro [Emoji with smiley face puffing air]” – a reference to Khan. Valdez replied sarcastically

 with a Facebook heart icon stating “Do it ASAP.” The post and Valdez’s “like” would not, in

 the ordinary course, be viewed by anyone other than “Facebook friends” of Valdez and his

 Chicago friend and could only be found by Khan or Die if they had intentionally been looking

 for a reason to discipline Valdez.” (Docket 1 at 10)

       This long paragraph probably violates Rule 8(d)(1) that “each allegation must be simple,

concise, and direct.” Fed.R.Civ.P.8(d)(1). But regardless, it is pled in the Plaintiffs/Counter-

Defendants’ own Complaint and it admits the on-line harassment that Khan is claiming as a

predicate hate crime. Valdez “liked” a post from a friend who commented he could “beat his

[Khan’s] ass for you bro [Valdez], and then there is the emoji with smiley face puffing air and

Valdez confirms the threat by another by writing and posting “Do it ASAP”. Valdez claims that

his “like” of his friend’s threat to beat Khan for Valdez is “sarcastic.” But Khan in his answer has




                                                 15
         2:18-cv-02101-CSB-EIL # 21          Page 16 of 22



denied that Valdez’s intention was sarcasm as opposed to hate or threat of harm. (Docket 13 at

19-20)

         Attempt by Plaintiffs/Counter-Defendants to strike either Khan’s hate crime counterclaim

or IIED counterclaim on the ground that the Illinois Hate Crime Act or IIED tort unlawfully

restricts protected speech is facially and logically baseless. It has long been established that “a

State may punish those words “which by their very utterance inflict injury or tend to incite an

immediate breach of the peace.”” Chaplinsky v. New Hampshire, 315 U.S. 568 (1942). See also,

R.A.V. v. City of St. Paul, 505 U.S. 377 (1992) (listing limited areas where the First Amendment

permits restrictions on the content of speech). The Supreme Court has consequently held that

fighting words—“those personally abusive epithets which, when addressed to the ordinary citizen,

are, as a matter of common knowledge, inherently likely to provoke violent reaction”—are

generally proscribable under the First Amendment. Cohen v. California, 403 U.S. 15, 20 (1971).

Furthermore, “the constitutional guarantees of free speech and free press do not permit a State to

forbid or proscribe advocacy of the use of force or of law violation except where such advocacy is

directed to inciting or producing imminent lawless action and is likely to incite or produce such

action.” Brandenburg v. Ohio, 395 U.S. 444, 447 (1969) (per curiam).

         The First Amendment also permits a State to ban a “true threat.” Watts v. United States,

394 U.S. 705, 708 (1969) (per curiam) (internal quotation marks omitted); R.A.V. v. City of St.

Paul, 505 U.S. at 388 (“[T]hreats of violence are outside the First Amendment”); Madsen v.

Women’s Health Center, Inc., 512 U.S. 753, 774 (1994); Schenck v. Pro-Choice Network of

Western N.Y., 519 U.S. 357, 373 (1997). “True threats” encompass those statements where the

speaker means to communicate a serious expression of an intent to commit an act of unlawful

violence to a particular individual or group of individuals. Watts v. United States, 394 U.S. at 708;




                                                 16
         2:18-cv-02101-CSB-EIL # 21           Page 17 of 22



R.A.V. v. City of St. Paul, 505 U.S. at 388. The speaker need not actually intend to carry out the

threat. Rather, a prohibition on true threats “protect[s] individuals from the fear of violence” and

“from the disruption that fear engenders,” in addition to protecting people “from the possibility

that the threatened violence will occur.” Virginia v. Black, 538 U.S, 343, 344 (2003). Intimidation

in the constitutionally proscribable sense of the word is a type of true threat, where a speaker

directs a threat to a person or group of persons with the intent of placing the victim in fear of bodily

harm and death.

         If such fundamental First Amendment jurisprudence, squarely on point, weren’t already

thoroughly controlling and decisive against any and all of Plaintiffs/Counter-Defendants’ so-called

First Amendment challenges to Khan’s hate crime and IIED counterclaims, the Illinois Appellate

Courts have upheld the Illinois Hate Crime Act in the face of First Amendment, equal protection,

and all other challenges, on the grounds that the statue does not punish an individual for thinking

or expressing bigoted or hateful thoughts, but rather punishes the offender’s criminal conduct in

choosing victim by reason of those beliefs or hatred, and in then committing a criminal act

specified in the statute. People v. Nitz, 674 N.E.2d 802 (Ill. App. 3rd Dist. 1996); People v. Rokicki,

718 N.E.2d 333 (Ill. App. 2nd Dist. 1999); In re: Vladimir P., 670 N.E.2d 839 (Ill. App. 1st Dist.

1996).

                          Causation Is an Issue for the Jury, Not a Basis for
                             Striking or Dismissing the Counterclaims

         Counter-Defendants also raise what are in essence causation arguments regarding the

threats Khan received from unknown third parties. Not all of the threats Khan received were from

unknown persons. Recall, Minik is alleged to have directly published a threat to “@Tariq Khan

that included the words “Get him out of here . . . Beat the shit out of him . . . I’ll pay the legal

fees”” (Docket 13 at 48) and Valdez is likewise alleged to have directly threatened Kahn by liking


                                                  17
         2:18-cv-02101-CSB-EIL # 21          Page 18 of 22



his friend’s post saying he “could beat his ass for you” and Valdez said “do it ASAP.” (Docket 1

at 10)

         But Khan concedes some of the on-line threats he received were from persons unknown to

him. Whether Counter-Defendants cause or incited these unlawful threats is an issue for the jury.

“On the issue of causation, as on other issues essential to his cause of action, the plaintiff, in

general, has the burden of proof. He must introduce evidence which affords a reasonable basis for

the conclusion that it is more likely than not that the defendant’s conduct was a substantial factor

in bringing about the injury complained of.” Collins v. American Optometric Association, 693

F.2d 636 (7th Cir. 1982).

         It has long been established by Illinois statute, that a person charged with a crime may be

held accountable (and therefore criminally liable) for the actions of others in a number of situations

as follows:

                5.2     When accountability exists. A person is legally accountable
                        for the conduct of another when:

                        (a)    having a mental state described by the statute
                               defining the offense, he or she causes another to
                               perform the conduct, and the other person in fact or
                               by reason of legal incapacity lacks such a mental
                               state:

                        (b)    the statute defining the offense makes him or her so
                               accountable; or

                        (c)    either before or during the commission of an offense,
                               and with the intent to promote or facilitate that
                               commission, he or she solicits, aids, abets, agrees, or
                               attempts to aid that other person in planning or
                               commission of the offense.

720 ILCS 5/5-2.

         Because the allegations in Khan’s Answer and Counterclaim already quoted above—quite

apart from any other testimony and evidence to be elicited and/or adduced in discovery—show


                                                 18
       2:18-cv-02101-CSB-EIL # 21            Page 19 of 22



and/or could be taken to show Counter-Defendants accountability under 720 ILCS 5/5-2(c).

Furthermore, because all of the detestable and criminal acts described in the Counterclaim could

be proven at Trial to be acts in furtherance of a common criminal design, each of the named

defendants may be held jointly and severally accountable for all of the above described acts

pursuant to the common criminal design provision of 720 ILCS 5/5-2:

               When 2 or more persons engage in a common criminal design or
               agreement, any acts in the furtherance of that common design
               committed by one party are considered to be the acts of all parties to
               the common design or agreement and all are equally responsible for
               the consequences of those further acts. Mere presence at the scene
               of a crime does not render a person accountable for an offense; a
               person’s presence at the scene of a crime however, may be
               considered with other circumstances by the trier of fact when
               determining accountability.

720 ILCS 5/5-2.

       Lest the Court undermine the seriousness of the on-line threat Khan received from

unknown persons after Valdez, Minik and Nelson published false and inflammatory materials on-

line about Khan, the Court should note and review the allegations in paragraphs 32-53. (Docket

13 at 48-52) In direct response to the on-line posting of hateful speech by Mink, Valdez and

Nelson, unknown persons responded with bile such as “Expelled? No. We need to deal with this

as white men in a white nation. This garbage dares to assault us? We physically remove him from

the plain of existence. He has no right to exist in our nation, he is made to leave one way or

another.” (Docket 13 at 49) The cowardly and vicious (and ongoing) concealment of the identities

of the “other” parties who actively engaged in the hate crimes against Khan does not constitute an

affirmative defense but rather supports criminal accountability and civil liability.

       The Illinois Hate Crime Act expressly provides for civil damages: “Independent of any

criminal prosecution or the result of a criminal prosecution, any person suffering injury to his or

her person, damage to his or her property, intimidation as defined in paragraphs (a)(1), (a)(2), and


                                                 19
          2:18-cv-02101-CSB-EIL # 21        Page 20 of 22



(a)(3) of Section 12-6 of this Code . . . or harassment through electronic communications as defined

in paragraphs (a)(2) and (a)(5) of Section 16.5-3 of this Code as a result of a hate crime may bring

a civil action for damages, injunction or other appropriate relief. The court may award actual

damages, including damages for emotional distress, as well as punitive damages.” 720 ILCS 5/12-

7.1(c).

          Clearly, the Illinois Hate Crime Act contemplated civil actions for damages such as the

one brought by Khan against Minik, Valdez and Nelson. This Court has supplemental jurisdiction

over state law counterclaims such as Khan’s claims for IIED and a hate crime. 28 U.S. 1367(a)

The Illinois Hate Crime Act does not violate the First Amendment, as it does not punish individuals

for thinking or expressing bigoted or hateful thoughts, but rather punishes offender’s criminal

conduct in choosing a victim by reason of those beliefs or hatred, and in committing a criminal act

specified in a statute. People v. Nitz, 674 N.E.2d 802 (Ill. App. 3rd Dist. 1996). The Illinois

legislature was free to determine as a matter of sound public policy that bias-motivated crimes

create greater harm than identical conduct not motivated by bias and should be punished more

harshly. People v. Rokicki, 718 N.E.2d 333 (Ill. App. 2nd Dist. 1999).




                                                20
       2:18-cv-02101-CSB-EIL # 21           Page 21 of 22



       WHEREFORE, Defendant/Counterclaimant TARIQ KHAN requests that the Court deny

the Motion to Strike and Dismiss in its entirety and that the Counter-Defendants answer and parties

proceed to discovery and trial.

                                                     Respectfully submitted:
                                                     TARIQ KHAN, Defendant,
                                                     By: Solberg & Bullock, LLC

                                                      s/Ellyn J. Bullock
                                                     Ellyn J. Bullock, No. 6224579, Attorney for
                                                     Defendant/Counterclaimant TARIQ KHAN
                                                     Solberg & Bullock, LLC
                                                     100 N. Chestnut Street, Suite 230
                                                     Champaign, IL 61820
                                                     Telephone: (217) 351-6156
                                                     Facsimile: (217) 351-6203
                                                     Email: ellyn@solbergbullock.com




                                                21
       2:18-cv-02101-CSB-EIL # 21         Page 22 of 22



                              CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2018, I electronically filed the foregoing
Defendant/Counterclaimant TARIQ KHAN’s Response to Plaintiffs/Counter-Defendants’ Motion
to Strike or Dismiss with Incorporated Memorandum of Law with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to the following:

                          Whitman Brisky, Esq., wbrisky@mauckbaker.com
                     Charles R. Schmadeke, Esq., cschmadeke@hinshawlaw.com


                                                   s/Ellyn J. Bullock
                                                  Ellyn J. Bullock, No. 6224579, Attorney for
                                                  Defendant/Counterclaimant TARIQ KHAN
                                                  Solberg & Bullock, LLC
                                                  100 N. Chestnut Street, Suite 230
                                                  Champaign, IL 61820
                                                  Telephone: (217) 351-6156
                                                  Facsimile: (217) 351-6203
                                                  Email: ellyn@solbergbullock.com




                                             22
